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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

ROBERT   ALVES     and    KEVIN
FERRELL,

           Plaintiffs,

v.                                 Case No:    2:17-cv-664-FtM-29MRM

B&W PAVING CONTRACTORS OF
SOUTHWEST FLORIDA, INC., a
Florida profit corporation
and     CHARLES     WILLEY,
individually,

           Defendants.


                            OPINION AND ORDER

      This matter is before the Court on consideration of the

Magistrate Judge’s Report and Recommendation (Doc. #27), filed

March 22, 2019, recommending that the Joint Motion to Approve

Settlement Agreement and Stipulation for Dismissal With Prejudice

(Doc. #24) and Joint Supplemental Memorandum (Doc. #26) be granted,

the settlement be approved, and the case dismissed.         No objections

have been filed and the time to do so has expired.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b)(1); Williams v. Wainwright, 681 F.2d 732 (11th Cir. 1982),

cert. denied, 459 U.S. 1112 (1983).           In the absence of specific

objections, there is no requirement that a district judge review
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factual findings de novo, Garvey v. Vaughn, 993 F.2d 776, 779 n.9

(11th Cir. 1993), and the court may accept, reject or modify, in

whole or in part, the findings and recommendations.             28 U.S.C. §

636(b)(1).    The district judge reviews legal conclusions de novo,

even in the absence of an objection.               See Cooper-Houston v.

Southern Ry. Co., 37 F.3d 603, 604 (11th Cir. 1994); Castro

Bobadilla v. Reno, 826 F. Supp. 1428, 1431-32 (S.D. Fla. 1993),

aff’d, 28 F.3d 116 (11th Cir. 1994) (Table).

      Upon initial review of the Joint Motion to Approve Settlement

Agreement and Stipulation for Dismissal With Prejudice (Doc. #24),

the   Magistrate   Judge   found   that    the   settlement   could   not   be

approved because of a possible lack of consideration for the

dismissal of plaintiff Robert Alves’ retaliation claim, and the

lack of clarity as to the general releases.              (Doc. #25.)        In

response, the parties filed a Joint Supplemental Memorandum (Doc.

#26) to address the concerns, and a revised Settlement Agreement

and Release of Claims (Doc. #26-1).              It is for this revised

agreement that the Magistrate Judge recommended approval.              After

conducting an independent examination of the file and upon due

consideration of the Report and Recommendation, the Court accepts

the Report and Recommendation of the magistrate judge.

      Accordingly, it is now

      ORDERED:




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      1.   The   Report   and    Recommendation    (Doc.   #27)    is   hereby

adopted and the findings incorporated herein.

      2.   The    parties'      Joint   Motion    to   Approve     Settlement

Agreement and Stipulation for Dismissal With Prejudice (Doc. #24)

is granted and the (revised) Settlement Agreement and Release of

Claims (Doc. #26-1) is approved as a fair and reasonable resolution

of a bona fide dispute.

      3.   The Clerk shall enter judgment dismissing the case with

prejudice, terminate all deadlines and motions, and close the file.

      DONE and ORDERED at Fort Myers, Florida, this              8th    day of

April, 2019.




Copies:
Hon. Mac R. McCoy
United States Magistrate Judge

Counsel of Record
Unrepresented parties




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